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12
     Attorneys for Defendant
13   MONSANTO COMPANY

14
                                UNITED STATES DISTRICT COURT
15
                               NORTHERN DISTRICT OF CALIFORNIA
16
                                             )
17   IN RE: ROUNDUP PRODUCTS                 ) MDL No. 2741
     LIABILITY LITIGATION                    )
18                                           ) Case No. 3:16-md-02741-VC
                                             )
19                                           ) DECLARATION OF BRIAN L.
     Hardeman v. Monsanto Co., et al.,       ) STEKLOFF IN SUPPORT OF
20   3:16-cv-0525-VC                         ) MONSANTO COMPANY’S
     Stevick v. Monsanto Co., et al.,        ) OPPOSITION TO PLAINTIFFS’
21   3:16-cv-2341-VC                         ) MOTION IN LIMINE NO. 1
     Gebeyehou v. Monsanto Co., et al.,      )
22   3:16-cv-5813-VC                         )

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     STEKLOFF DECLARATION – MONSANTO’S OPPOSITION TO PLAINTIFFS’ MOTION IN LIMINE NO. 1
                 3:16-md-02741-VC & 3:16-cv-0525-VC, 3:16-cv-2341-VC, 3:16-cv-5813-VC
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 1          I, Brian L. Stekloff, declare and state as follows:
 2          1.     I am a partner at the law firm of Wilkinson Walsh + Eskovitz, LLP, counsel for
 3   defendant Monsanto Company (“Monsanto”). I make this declaration in support of Monsanto’s
 4   Opposition to Plaintiffs’ Motion In Limine No. 1 to exclude any evidence or reference that
 5   compares the amount of Roundup use to NHL incidence over time to disprove causation. I make
 6   this declaration based on my personal knowledge and, if called as a witness, I would and could
 7   testify competently to these matters.
 8          2.     Annexed hereto as Exhibit 1 is a true and correct copy of the expert report of Dr.
 9   Alexandra Levine produced in the Hardeman case dated November 26, 2018.
10          3.     Annexed hereto as Exhibit 2 is a true and correct copy of the expert report of Dr.
11   William Fleming dated July 31, 2017.
12          4.     Annexed hereto as Exhibit 3 is a true and correct copy of the expert report of Dr.
13   Chadi Nabhan produced in the Hardeman case dated November 20, 2018.
14          5.     Annexed hereto as Exhibit 4 is a true and correct copy of the expert report of Dr.
15   Beate Ritz dated May 1, 2017.
16         I hereby declare under penalty of perjury that the facts set forth herein are true and
17   correct.
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     STEKLOFF DECLARATION – MONSANTO’S OPPOSITION TO PLAINTIFFS’ MOTION IN LIMINE NO. 1
                 3:16-md-02741-VC & 3:16-cv-0525-VC, 3:16-cv-2341-VC, 3:16-cv-5813-VC
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      DATED: January 30, 2019                 Respectfully submitted,
 2
                                              /s/ Brian L. Stekloff___________
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